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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS

IN RE: TESTOSTERONE REPLACEMENT                          MDL No. 2545
THERAPY PRODUCTS LIABILITY LITIGATION                    Master Docket Case No. 1:14-cv-01748
Rafael Ramos                                             Honorable Matthew F. Kennelly

 Plaintiff(s),
 v.
 Actavis, Inc., Actavis Pharma, Inc.,
 Actavis Laboratories UT, Inc., Anda, Inc.
                                                         Case No.:




 Defendant(s).
 All parties are to be included per Fed.R.Civ.P. 10(a)

                            MASTER SHORT-FORM COMPLAINT
                                 FOR INDIVIDUAL CLAIMS
        1.      Plaintiff(s), Rafael Ramos                                                      ,

state(s) and incorporate(s) by reference the portions indicated below of Plaintiffs’ Master

Long Form Complaint on file with the Clerk of the Court for the United States District

Court for the Northern District of Illinois in the matter entitled In Re: Testosterone

Replacement Therapy Products Liability Litigation, MDL No. 2545. Plaintiff(s) [is/are] filing

this Short Form Complaint as permitted by Case Management Order No. 20 of this Court
for cases filed directly into this district.

        2.      In addition to the below-indicated portions of the Master Long Form

Complaint adopted by the plaintiff(s) and incorporated by reference herein, Plaintiff(s)

hereby allege(s) as follows:
                                                  VENUE
        3.      Venue for remand and trial is proper in the following federal judicial

district: Northern District of Georgia
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                           IDENTIFICATION OF PLAINTIFF(S)
                          AND RELATED INTERESTED PARTIES

      4.       Name and residence of individual injured by Testosterone Replacement

Therapy product(s) (“TRT”): Rafael
                        Ramos
2312 Martingale Lane, Lawrenceville, GA 30044
      5.       Consortium Claim(s): The following individual(s) allege damages for loss

of consortium: N/A



      6.       Survival and/or Wrongful Death claims:

            a. Name and residence of Decedent when he suffered TRT-related injuries

               and/or death:
N/A

            b. Name and residence of individual(s) entitled to bring the claims on behalf

               of the decedent’s estate (e.g., personal representative, administrator, next of

               kin, successor in interest, etc.)
N/A

                                   CASE SPECIFIC FACTS
                          REGARDING TRT USE AND INJURIES
      7.       Plaintiff currently resides in (city, state): Lawrenceville, GA

      8.       At the time of the TRT-caused injury, [Plaintiff/Decedent] resided in (city,

state): Lawrenceville,         GA
      9.       [Plaintiff/Decedent] began using TRT as prescribed and indicated on or

about the following date: August        2004
      10.      [Plaintiff/Decedent] discontinued TRT use on or about the following date:
July 2006
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      11.      [Plaintiff/Decedent] used the following TRT products, which Plaintiff

contends caused his injury(ies):

☐     AndroGel                                        ☐     Striant
☐     Testim                                          ☐     Delatestryl
☐     Axiron                                          ☐     Other(s) (please specify):
☐     Depo-Testosterone                               ____________________________________
☐
✔     Androderm                                       ____________________________________
☐     Testopel                                        ____________________________________
☐     Fortesta                                        ____________________________________


      12.      [Plaintiff/Decedent] is suing the following Defendants:

☐     AbbVie Inc.                                ☐        Endo Pharmaceuticals, Inc.
☐     Abbott Laboratories
                                                 ☐        Auxilium Pharmaceuticals, Inc.
☐     AbbVie Products LLC
☐     Unimed Pharmaceuticals, LLC                ☐        GlaxoSmithKline, LLC
☐     Besins Healthcare Inc.
☐     Besins Healthcare, S.A.                    ☐✔
                                                          Actavis, Inc.
                                                 ☐✔       Actavis Pharma, Inc.
                                                 ☐✔       Actavis Laboratories UT, Inc.
☐
✔
       Eli Lilly and Company                     ☐✔       Anda, Inc.
☐
✔
       Lilly USA, LLC
☐
✔
       Acrux Commercial Pty Ltd.
☐
✔      Acrux DDS Pty Ltd.

☐      Pfizer, Inc.
☐      Pharmacia & Upjohn Company Inc.


☐     Other(s) (please specify):




      13.      [Plaintiff/Decedent] is bringing suit against the following Defendant(s),

who did not manufacture TRT and only acted as a distributor for TRT manufacturers:
N/A

            a. TRT product(s) distributed: N/A
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             b. Conduct supporting claims: N/A




       14.      TRT caused serious injuries and damages including but not limited to the

following:
Stroke



       15.      Approximate date of TRT injury: October         14, 2006



                ALLEGATIONS, CLAIMS, AND THEORIES OF RECOVERY
                 ADOPTED AND INCORPORATED IN THIS LAWSUIT
       16.      Plaintiff(s) hereby adopt(s) and incorporate(s) by reference as if set forth
fully herein, all common allegations contained in paragraphs 1 through 466 of the

Master Long Form Complaint on file with the Clerk of the Court for the United States

District Court for the Northern District of Illinois in the matter entitled In Re:

Testosterone Replacement Therapy Products Liability Litigation, MDL No. 2545.

       17.      Plaintiff(s) hereby adopt(s) and incorporate(s) by reference as if set forth

fully herein, the following damages and causes of action of the Master Long Form

Complaint on file with the Clerk of the Court for the United States District Court for the

Northern District of Illinois in the matter entitled In Re: Testosterone Replacement Therapy

Products Liability Litigation, MDL No. 2545:

      ☐
      ✔         Count I – Strict Liability – Design Defect

      ☐
      ✔         Count II – Strict Liability – Failure to Warn

      ☐
      ✔         Count III – Negligence
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